           Case
John L. Littrell    2:21-cr-00491-SB
                 (S.B.N. 221601)     Document 3 Filed 10/20/21 Page 1 of 1 Page ID #:15
BIENERT KATZMAN LITTRELL WILLIAMS LLP
903 Calle Amanecer, Suite 350
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


 United States of America                                        CASE NUMBER

                                                                                      21-CR-00491-SB
                                                   PLAINTIFF
                              v.
JEFF FORTENBERRY,
                                                                 DESIGNATION AND APPEARANCE OF COUNSEL
                                             DEFENDANT(S).


                                             DESIGNATION OF COUNSEL

       I, the undersigned defendant in the above-numbered case, hereby designate and appoint
JOHN L. LITTRELL                                                              , Esquire, as my attorney to appear for
me throughout all proceedings in this case.


October 19, 2021
Date                                                      Defendant’s Signature



                                                          City and State




                                             APPEARANCE OF COUNSEL

        I, JOHN L. LITTRELL                                                                   Attorney at law duly admitted to
practice before the United States District Court for the Central District of California, hereby consent to my designation and
appointment as counsel for the above-named defendant. The Clerk is therefore requested to enter my appearance as
defendant's counsel.

         Receipt is hereby acknowledged of a copy of the Indictment or Information in this case.

October 19, 2021                                           /s/ John L. Littrell
Date                                                      Attorney’s Signature

221601                                                    903 Calle Amanecer, Suite 350
California State Bar Number                               Street Address

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                                                          City, State, Zip Code

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CR-14 (01/07)                            DESIGNATION AND APPEARANCE OF COUNSEL
